Case 3:13-cv-14953 Document 38-1 Filed 05/12/14 Page 1 of 10 PageID #: 179




                            UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF WEST VIRGINIA

                                           at Huntington

DAWN DENISE McCOMAS,
Executrix of the Estate of
BILLIE PLYMALE,

                Ptaintift


Y                                                              CIVIL ACTION NO. 3:13-cv-14953


KIRT THOMAS MILLER, D.P.M.,

                Defendant.


           PLAINTIF'F''S REBUTTAL DISCLOSUR-E OF EXPERT \ryITNESSES

       Pursuant to this Court's Scheduling Order, the Plaintiff hereby discloses the following

expert witnesses who are anticipated to testiSi at the trial of this matter:

                Steven Hajdu, M.D.
                1759 Drumcliff Court
                Westlake Village, CA 91361
                - Pathologist
                - Curriculum vitae attached heretr¡.
                - Report will be supplemented upon review of the complete opinions of Dr. Balko'


        Dr. Hadju is being named in the matter to rebut the opinions of Defendant's expert

witness, M. Gregory Balko, M.D. As per Dr. Balko's report, he intends to review additional

information and supplement his opinions accordingly,

        Dr. Hadju is unable to provide a report at this time as Dr, Balko's opinions and report is

only a preliminary, partial report and is not finalized pending his review of the original tissue

slides in this matter.




                                                                                                    EXHIBIT

                                                                                          I
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         Dr. Hadju's opinions will be based upon his education, experience, review of deposition

testimony, review of Mrs. Plymale's medical records and pathology slides and the finalized

report of M. Gregory Balko, M.D.

                Dr. Hadju charges $400.00 per hour with a $1,000.00 retainer for his initial

revlew


         The PlaintifTreserves the right to supplement this disclosure following the taking of

further discovery depositions in this matter.

         The Plaintiff hereby reserves the right to name additional or altemative expert witnesses

as discovery progresses.


         The Plaintiff hereby reseryes the right to elicit expert testimony from any and all

physicians, nurses, health care personnel or medical experts who were involved or who have

knowledge of the occturences which are the subject of this litigation.

         The Plaintiffhereby reserves the right to call at trial any expert witness named by any

other parly to this civil action.

         The Plaintiff hereby reserves the right to name rebuttal witnesses as may be necessary.

         The Plaintiff hereby reserves the right to suppletrent this disclosure should further

discovery justi$r same.




                                                DAWN DENISE McCOMAS, Executrix of_
                                                the Estate of BILLIE PLYMALE.
                                                By Counsel
Case 3:13-cv-14953 Document 38-1 Filed 05/12/14 Page 3 of 10 PageID #: 181




s/ Matthew C. Lindsay
Matthew C. Lindsay, J.D., M.D.
\ilY Bar No. 7896
Richard D. Lindsa¡ M.D., J.D.
lW Bar No. 2216
Tabor Lindsøy & Associates
Post Office Boxl269
Charleston, West Virginia 25325
304/344-slss
Case 3:13-cv-14953 Document 38-1 Filed 05/12/14 Page 4 of 10 PageID #: 182




                          UNITED STA.TES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA

                                          at Huntington

DA\ryN DENISE McCOMAS,
Executrix of the Estate of
BILLIE PLYMALE,

               Plaintiff,


V                                                            CryIII, ACTION NO. 3:13-cv-14953


KIRT THOMAS MILLER, D.P.M.,


               Defendant.
                                 CERTIF'ICATE OF' SERVICE

        I, Matthew C, Lindsay, J.D., M,D., do hereby certifr that I electronically frled the
"Plaintíff's Disclosure of Rebuttal Expert Wilnesses" with the Court using the CM/ECF
system, and that a Notice of Electronic Filing of this document will be electronically served by
                                       'White,
the Clerk of the Court upon Tamela J.          Esquire. I further certifr that true and exact copies
of this document have been served upon counsel of record this 1Oth day of April,20l4,by
depositing the same in the regular course of the United States mail, postage prepaid:


                                    Tamela J. White, Esquire
                                   Farrell, White &, LeggPLLC
                                      Post Office Box 6457
                                   Huntington, WY 257 72-6457


                                                      s/ Matthew C. Lintlsr¡v..LD.. M.D.
                                                      Matthew C. Lindsay, J.D., M.D.
                Case 3:13-cv-14953 Document 38-1 Filed 05/12/14 Page 5 of 10 PageID #: 183



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TAME|,A J WHITË r,2
CHARLO1'IE A HOFFMAN NORRIS                                                                                               TF,I,EPHONE (304) s22-91 o0
ERIK W. LEGG,                                                                                                             FACSTMI,E (304) s22-9 ] 62
BERNARD S, VALLLìOS                                             April2l,2014
I\LEXANDER L, TURNER                                              Viafacsimile
MEGAN FARRÊLL WOODYARD                                                                                                    FILE#: 1051.0001
sAM^NlH^ THOMAS-BUSH I




                Matthew Lindsay, Esquire
                Tabor Lindsay & Associates
                P.O, Box 1269
                Charleston, WY 25325
                mlindsay@taborlindsay. com

                        Re: Duwn McComøs, Executrix of the Estate of Bíllie Plymøle
                               v. Kírt Thomas Míller, D.P.M,
                               Uníted States District Court, Southern Dìstrìct of llesl Virginiø
                               Civil Actíon No, 3:13-cr-14953

                Dear Matt;

                        I have had the opportunity to review your rebuttal expert witness disclosure of Steven
                Hadju, M,D. As you know, Rule 26 requires 1) a statement of the opinions the witness will
                express and the basis and Teasons for them; 2) the facts or data considered by the witness in
                forming them; 3) any exhibits that will be used by the witness; 4) the witness's qualifications,
                including publications within the last l0 years; 5) a list of the other cases during the previous
                four years in which the witness has testified; and 6) a statement of the witness's compensation.

                         You have provided the rebuttal witness's qualifications and compensation. Please
                provide a report regarding his opinions, the facts or data considered by the witness in forming
                them, any exhibits he intends to use in this matter, and a list of the other cases in which he has
                testified during the previous four years.

                        By your disclosure of Steven Hadju, M,D., it is presumed that he has reviewed the
                pathology slides. Please provide the written disclosure of his findings at this time and the
                information required by Rule 26. If we do not receive his findings within 15 days, we will be
                forced to file a Motion to Exclude the same.

                        Please feel free to contact me if you have any questions.

                                                                                                   v"IY truly yours,


                                                                                                   Samantha            Bush
                        Tamela J, White, Esq. (vla e-mail)
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             |XLU}IIONET(J04) Sz2-91t¡                                                    FAX| (304) 522'9162

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             DA'l'ti:      April2l ,2014

             TOr           lvlntthcw C, Lilldsoy, Escluito

             Itr\X NUMIIF,R; (304) 344"5188

             FROM; llutnantha'1'homos'Br,lsh,Hscluirc
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Case 3:13-cv-14953 Document 38-1 Filed 05/12/14 Page 7 of 10 PageID #: 185


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                                Huntington, West Virginia 25772-6457

TELEPHONE: (30a) s22-9100                                                          FAX: (304) s22-9162

                              TELECOPY TRANSMITTAL SHEET*

DATE:           April2l ,2074

TO:             Matthew C. Lindsay, Esquire

FAX NUMBER: (304) 344-s188

FROM:           Samantha Thomas-Bush, Esquire

NO. OF PAGES (INCLUDING THIS PAGE): 2

RE:             Dawn Denis, McComas, Executrix of the Estate of Billie Plymale v. Kirt Thomas
                Miller, D.P.M.

FILE NO,: 1051.0001

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                  Case 3:13-cv-14953 Document 38-1 Filed 05/12/14 Page 8 of 10 PageID #: 186



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Mlcl{nel..i. ¡-¡.nneul      I
                                                                                                                                   OF (:OUNSEL:
JOSEPI I l"i FARRFI.f ,. Jr.
                                 I                                                                                                 Ctll¡ts'llN¡ t- SlvtttHl
TAlvjEf .4.1. WIJì1'Ë.r 2
CHARLO] 1'E A ì IOFFMAN NORRÍ S                                                                                                    ]EI,EPTfONE (.ì04) 522-9 I 00
ERIK W, LEGG 2                                                                                                                     FACSIMII,E (104) 572-9162
BDRNARD S, VALLE.IOS                                                      May 9,2014
ALEXANDDR L TURNER                                                        ViaJàcsimile
MEGAN ITARREI,i. WOODYAR D                                                                                                         FILE#: 1051.0001
SAivtANTHA THOM¡S-BUSH               1




                  Matthew Lindsay, Esquire
                  Tabor Lindsay & Associates
                  P.O. Box 1269
                  Charleston, WV 25325
                  mlindsay@taborli ndsay, com

                                Re: Dawn McComøs, Executrix of the Estate of Billìe Plymale
                                         v. Ifirt Thomas Mil.ler, D.P,M.
                                         United States Distríct Court, Southern Distríct of ÚYest Vìrgìnia
                                         Civìl Action No. 3:13-cr-14953

                  Dear Matt

                         This letter will oonfirm our conversation of this afternoon where we discussed the expert
                  witness report of Dr. Steven Hadju, who was disclosed as a rebuttal witness in plaintiff s case.

                          Your position is that you are not required to provide any opinions of Dr, Iìadju until Dr'
                  Ilalko has reviewed the original pathology slides this coming Tuesday, May 13, 2014, despite the
                  fact that Dr. Balko has provided opinions of the recut pathology slides in accordance with the
                  scheduling order, I disagreed with you, and took the position that Dr. Hadju is required to hle
                  opinions as a rebuttal witness, but he could supplement those opinions if they changed after
                  reviewing any additional opinions Dr. Balko may disclose after reviewing the original pathology
                  slides,

                          We discussed that because of our disagreement, it may be necessary to file a Motion to
                  Dxclude the same, as previously contemplated in my correspondence of April 2I,2014, where I
                  requested supplementation of Dr. Hadju's report, and you agreed that I should file the Motion if I
                  thought it necessary.

                            I will be filing the Motion on Monday, May 12,2014

                                                                                                                    truly yours,



                                Tamela J. White, Esq. (vla e-rnail)


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       Case 3:13-cv-14953 Document 38-1 Filed 05/12/14 Page 9 of 10 PageID #: 187
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                                                               Post Offico Box 6457
                                               Huntington, West Virginia 25772-6457

        TELEPHONE: (30a) s22-9r00                                                                                        FAX: (304 ' 522-9162

                                           TELECOPY TRANSMITTAL SHEET*

        DA'|E:             May 9,2014

        TQ:                Matthew C. Lindsay, Esquíre

        FAX NUMBER: (304) 344-s188

        FROM:              Samantha Thor,nas-Bush, Esquire

        NO. oF PAGES 0NCLUDING THIS PAGE): 2

        RE:               Dawn Deni,s, McComas, Executrix of the Estate of Billie Plymale v. Kir Thomas
                          Miller, D.I'.M.

        FILE NO,: 1051,0001

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Case 3:13-cv-14953 Document 38-1 Filed 05/12/14 Page 10 of 10 PageID #: 188


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                                Huntington, West Virginia 25772-6457

TELEPHONE: (304) 522-9100                                                          FAX: (304) 522-9162

                              TELECOPY TMNSMITTAL SHEET*

DATE:           };day 9,2014

TO:             Matthew C, Lindsay, Esquire

FAX NUMBER: (304) 344-s188

FROM:           Samantha Thomas-Bush, Esquire

NO, OF PAGES (INCLUDING'|HIS PAGE): 2

REr             Dawn Denis, McComas, Executrix of the Estate of Billie Plymale v, Kirt Thomas
                Miller, D.P.M.

FILE NO.: 1051,0001

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